                    Case 17-40025               Doc 1        Filed 01/27/17 Entered 01/27/17 15:18:12                               Desc Main
                                                              Document     Page 1 of 125
Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Juan
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Jose
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Corchado
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years Joe Corchado
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-5723
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Juan Jose Corchado                                                                         Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification    I have not used any business name or EINs.
     Numbers (EIN) you have                                                                       I have not used any business name or EINs.
     used in the last 8 years
                              FDBA JFD Sales Consulting Services Corp
                                 FDBA JFD Sales Corp
     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 352 Ramano Drive
                                 Iron Station, NC 28080
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Lincoln
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
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Debtor 1    Juan Jose Corchado                                                                            Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?

                                                         No. Go to line 12.

                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Juan Jose Corchado                                                                             Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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Debtor 1    Juan Jose Corchado                                                                         Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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Debtor 1    Juan Jose Corchado                                                                            Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.       Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                               individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.       Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                            money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.       State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.    I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                       are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                            5001-10,000                                   50,001-100,000
    owe?
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    be worth?                                                                        $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Juan Jose Corchado
                                 Juan Jose Corchado                                                Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     January 27, 2017                                  Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1   Juan Jose Corchado                                                                             Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Beth B. Carter                                                 Date         January 27, 2017
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Beth B. Carter
                                Printed name

                                The Law Offices of Beth B. Carter, PLLC
                                Firm name

                                P.O. Box 1553
                                Denver, NC 28037
                                Number, Street, City, State & ZIP Code

                                Contact phone     704-966-8028                               Email address         beth@bbcarterlaw.com
                                24642
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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 Fill in this information to identify your case:

 Debtor 1                   Juan Jose Corchado
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  WESTERN DISTRICT OF NORTH CAROLINA

 Case number
 (if known)                                                                                                                                                        Check if this is an
                                                                                                                                                                   amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                  Your assets
                                                                                                                                                                  Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................     $            973,100.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................          $            412,637.43

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................     $         1,385,737.43

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                  Your liabilities
                                                                                                                                                                  Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                      $            830,183.19

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                            $               2,519.43

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                              $         2,643,002.67


                                                                                                                                     Your total liabilities $              3,475,705.29


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................               $               2,240.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                           $               2,707.91

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                     page 1 of 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                      Best Case Bankruptcy
                 Case 17-40025                    Doc 1          Filed 01/27/17 Entered 01/27/17 15:18:12                         Desc Main
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 Debtor 1      Juan Jose Corchado                                                         Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              2,519.43

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 2,519.43




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                    page 2 of 2
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                       Case 17-40025                     Doc 1              Filed 01/27/17 Entered 01/27/17 15:18:12                                        Desc Main
                                                                             Document     Page 10 of 125
 Fill in this information to identify your case and this filing:

 Debtor 1                    Juan Jose Corchado
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      WESTERN DISTRICT OF NORTH CAROLINA

 Case number                                                                                                                                                       Check if this is an
                                                                                                                                                                   amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        14 32 Parsons Blvd                                                             Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the         Current value of the
        Whitestone                        NY        11357-0000                         Land                                       entire property?             portion you own?
        City                              State              ZIP Code                  Investment property                               $800,000.00                  $800,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Tenancy by Entirety
        Queens                                                                         Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                purchased in 2012 for $607,000
                                                                                tax value:$800,000 - FMV considered to be close to tax value based upon
                                                                                feedback from RE agent




Official Form 106A/B                                                                  Schedule A/B: Property                                                                     page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                    Best Case Bankruptcy
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 Debtor 1        Juan Jose Corchado                                                                                      Case number (if known)

       If you own or have more than one, list here:
 1.2                                                                    What is the property? Check all that apply
       55 Crestview Drive                                                      Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the         Current value of the
       Willingboro                       NJ        08046-0000                  Land                                            entire property?             portion you own?
       City                              State              ZIP Code           Investment property                                    $172,600.00                  $172,600.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Tenancy by Entirety
       Burlington                                                              Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        purchased in 1990 for $135,000
                                                                        tax value$172,600
                                                                        FMV estimated to be $172,600


       If you own or have more than one, list here:
 1.3                                                                    What is the property? Check all that apply
       1300 Route 130 North                                                    Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the         Current value of the
       Riverton                          NJ        08077-0000                  Land                                            entire property?             portion you own?
       City                              State              ZIP Code           Investment property                                           $500.00                     $500.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other     burial plots                          (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
       Burlington                                                              Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        purchased in 1995
                                                                        2 plots for 4 people 2 are in use




Official Form 106A/B                                                       Schedule A/B: Property                                                                             page 2
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 Debtor 1        Juan Jose Corchado                                                                                      Case number (if known)

       If you own or have more than one, list here:
 1.4                                                                    What is the property? Check all that apply
       The Royal Haciendas                                                     Single-family home                              Do not deduct secured claims or exemptions. Put
       Interval #37 Unit A201                                                  Duplex or multi-unit building                   the amount of any secured claims on Schedule D:
       77710 Playa del Carmen, OR Mexico                                                                                       Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative
       Street address, if available, or other description

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the          Current value of the
                                                                               Land                                            entire property?              portion you own?
       City                              State              ZIP Code           Investment property                                               $0.00                        $0.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
                                                                               Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        purchased in 2009 for 30,002.40
                                                                        deeded timeshare
                                                                        FMV is $


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $973,100.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

       No
       Yes


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

       No
       Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                             $0.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                         Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....




Official Form 106A/B                                                       Schedule A/B: Property                                                                              page 3
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 Debtor 1       Juan Jose Corchado                                                                  Case number (if known)


                                    stove. refrigerator, dishwasher, dryer. washer. small appliances,
                                    dishware, cookware, utensils, dining room furniture, living room
                                    furniture, master bedroom furniture, additional bedroom furniture,
                                    desk, chair, patio furniture, hand tools, power tools, linens,
                                    blankets, comforters

                                    wife's portion of assets:$1,000
                                    husband portion of assets:$1,000                                                                             $1,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    television, surround sound, VCR/DVD combo, computer,
                                    photocopier, clock

                                    wife's portion of assets:$500
                                    husband portion of assets:$500                                                                                 $500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    bicycles

                                    wife's portion of assets:$10
                                    husband portion of assets:$10                                                                                    $10.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    wardrobe for one adult                                                                                         $250.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    male watch                                                                                                       $40.00




Official Form 106A/B                                                 Schedule A/B: Property                                                            page 4
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 Debtor 1          Juan Jose Corchado                                                                                         Case number (if known)


                                            male wedding ring                                                                                                             $10.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                            $1,810.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Savings                                 acct#6102 with Banco Santander USA                                  $1,000.18



                                              17.2.       Checking                                acct#9163 with Banco Santander USA                                    $264.43



                                              17.3.       Checking                                acct#1667 with Woodforest Bank                                      $8,875.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................        Institution or issuer name:


                                                        mutual funds managed by Edward Jones and held in Voya account                                                 $2,471.60


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                             % of ownership:




Official Form 106A/B                                                                       Schedule A/B: Property                                                           page 5
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                                            JFD Sales Consulting Services Corp - NY
                                            corporation
                                            acct#2195 with Astoria Bank $5,851.13
                                            acct#2194 with Astoria Bank $59,173.11
                                            acct$1078 with PNC Bank $78,546.48
                                            Debts greatly outweigh assets, business is
                                            wrapping up and will dissolve in early 2017                             100%        %                           $0.00


                                            JFD Sales Corporation - NJ business
                                            This business has not operated since 2015 - no
                                            bank accounts, no accounts receivable, no
                                            assets                                                                  100%        %                           $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                            Institution name:

                                          401(k)                            retirement plan through JFD Sales Consulting
                                                                            Services managed by John Hancock                                      $321,264.94


                                          IRA                               retirement plan through Edward Jones - Trad
                                                                            IRA 3                                                                     $76,951.28


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No

Official Form 106A/B                                                   Schedule A/B: Property                                                               page 6
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        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                                                  Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                                Surrender or refund
                                                                                                                                                                  value:

                                             Term Life Insurance through                                              Nancy Corchado 80%;
                                             Insured: Juan Corchado, debtor                                           Raquel Corchado10%;
                                             face value:$1,000,000                                                    Nicole Corchado5%;
                                             cash value:$0.00                                                         Melissa Corchado5%                                            $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................           $410,827.43


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.


Official Form 106A/B                                                           Schedule A/B: Property                                                                               page 7
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       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                      $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................            $973,100.00
 56. Part 2: Total vehicles, line 5                                                                               $0.00
 57. Part 3: Total personal and household items, line 15                                                      $1,810.00
 58. Part 4: Total financial assets, line 36                                                                $410,827.43
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $412,637.43               Copy personal property total         $412,637.43

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                     $1,385,737.43




Official Form 106A/B                                                               Schedule A/B: Property                                                                           page 8
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 Fill in this information to identify your case:

 Debtor 1                  Juan Jose Corchado
                           First Name                       Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                 Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF NORTH CAROLINA

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      14 32 Parsons Blvd Whitestone, NY                              $800,000.00                              $198,323.35      11 U.S.C. § 522(b)(3)(B)
      11357 Queens County
      purchased in 2012 for $607,000                                                       100% of fair market value, up to
      tax value:$800,000 - FMV considered                                                  any applicable statutory limit
      to be close to tax value based upon
      feedback from RE agent
      Line from Schedule A/B: 1.1

      1300 Route 130 North Riverton, NJ                                   $500.00                                  $500.00     11 U.S.C. § 522(d)(5)
      08077 Burlington County
      purchased in 1995                                                                    100% of fair market value, up to
      2 plots for 4 people 2 are in use                                                    any applicable statutory limit
      Line from Schedule A/B: 1.3

      stove. refrigerator, dishwasher,                                 $1,000.00                                 $1,000.00     11 U.S.C. § 522(d)(3)
      dryer. washer. small appliances,
      dishware, cookware, utensils, dining                                                 100% of fair market value, up to
      room furniture, living room furniture,                                               any applicable statutory limit
      master bedroom furniture, additional
      bedroom furniture, desk, chair, patio
      furniture, hand tools, power tools, lin
      Line from Schedule A/B: 6.1




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
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     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     television, surround sound,                                         $500.00                                   $500.00        11 U.S.C. § 522(d)(3)
     VCR/DVD combo, computer,
     photocopier, clock                                                                    100% of fair market value, up to
                                                                                           any applicable statutory limit
     wife's portion of assets:$500
     husband portion of assets:$500
     Line from Schedule A/B: 7.1

     bicycles                                                             $10.00                                    $10.00        11 U.S.C. § 522(d)(5)

     wife's portion of assets:$10                                                          100% of fair market value, up to
     husband portion of assets:$10                                                         any applicable statutory limit
     Line from Schedule A/B: 9.1

     wardrobe for one adult                                              $250.00                                   $250.00        11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     male watch                                                           $40.00                                    $40.00        11 U.S.C. § 522(d)(4)
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     male wedding ring                                                    $10.00                                    $10.00        11 U.S.C. § 522(d)(4)
     Line from Schedule A/B: 12.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings: acct#6102 with Banco                                     $1,000.18                                 $1,000.18        11 U.S.C. § 522(d)(5)
     Santander USA
     Line from Schedule A/B: 17.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: acct#9163 with Banco                                      $264.43                                   $264.43        11 U.S.C. § 522(d)(5)
     Santander USA
     Line from Schedule A/B: 17.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: acct#1667 with                                          $8,875.00                                 $8,853.79        11 U.S.C. § 522(d)(5)
     Woodforest Bank
     Line from Schedule A/B: 17.3                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     mutual funds managed by Edward                                    $2,471.60                                 $2,471.60        11 U.S.C. § 522(d)(5)
     Jones and held in Voya account
     Line from Schedule A/B: 18.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     401(k): retirement plan through JFD                             $321,264.94                              $321,264.94         11 U.S.C. § 522(b)(3)(C) ERISA
     Sales Consulting Services managed                                                                                            qualified
     by John Hancock                                                                       100% of fair market value, up to
     Line from Schedule A/B: 21.1                                                          any applicable statutory limit

     IRA: retirement plan through Edward                              $76,951.28                               $76,951.28         11 U.S.C. § 522(d)(12)
     Jones - Trad IRA 3
     Line from Schedule A/B: 21.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit



Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
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 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                   page 3 of 3
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 Fill in this information to identify your case:

 Debtor 1                   Juan Jose Corchado
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF NORTH CAROLINA

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Bank of America                          Describe the property that secures the claim:               $221,479.82               $172,600.00                     $0.00
         Creditor's Name                          55 Crestview Drive Willingboro, NJ
                                                  08046 Burlington County
                                                  purchased in 1990 for $135,000
                                                  tax value$172,600
                                                  FMV estimated to be $172,600
                                                  As of the date you file, the claim is: Check all that
         PO Box 982235                            apply.
         El Paso, TX 79998                            Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred          1990                      Last 4 digits of account number        0795

 2.2     Burlington Tax Assessor                  Describe the property that secures the claim:                   $7,026.72             $172,600.00            $7,026.72
         Creditor's Name                          55 Crestview Drive Willingboro, NJ
                                                  08046 Burlington County
                                                  purchased in 1990 for $135,000
                                                  tax value$172,600
                                                  FMV estimated to be $172,600
                                                  As of the date you file, the claim is: Check all that
         851 Old York Rd.                         apply.
         Burlington, NJ 08016                         Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit


Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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                                                                     Document     Page 22 of 125
 Debtor 1 Juan Jose Corchado                                                                                  Case number (if know)
               First Name                  Middle Name                      Last Name


       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.3     Citimortgage, Inc                          Describe the property that secures the claim:                  $383,992.65           $800,000.00             $0.00
         Creditor's Name                            14 32 Parsons Blvd Whitestone, NY
                                                    11357 Queens County
                                                    purchased in 2012 for $607,000
                                                    tax value:$800,000 - FMV
                                                    considered to be close to tax value
                                                    based upon feedback from RE agent
                                                    As of the date you file, the claim is: Check all that
         6400 Las Colinas Blvd                      apply.
         Irving, TX 75039                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          2012                        Last 4 digits of account number         2237

         Small Business
 2.4                                                                                                               $217,684.00           $800,000.00             $0.00
         Administration                             Describe the property that secures the claim:
         Creditor's Name                            14 32 Parsons Blvd Whitestone, NY
                                                    11357 Queens County
                                                    purchased in 2012 for $607,000
                                                    tax value:$800,000 - FMV
                                                    considered to be close to tax value
                                                    based upon feedback from RE agent
                                                    As of the date you file, the claim is: Check all that
         PO Box 740192                              apply.
         Atlanta, GA 30374                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         5000


   Add the dollar value of your entries in Column A on this page. Write that number here:                                  $830,183.19
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                 $830,183.19

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 2
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                       Case 17-40025              Doc 1          Filed 01/27/17 Entered 01/27/17 15:18:12                                            Desc Main
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 Fill in this information to identify your case:

 Debtor 1                     Juan Jose Corchado
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                WESTERN DISTRICT OF NORTH CAROLINA

 Case number
 (if known)                                                                                                                                              Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim           Priority           Nonpriority
                                                                                                                                              amount             amount
 2.1          Internal Revenue Service                               Last 4 digits of account number                                  $0.00              $0.00                 $0.00
              Priority Creditor's Name
              Insolvency Remittance                                  When was the debt incurred?
              PO Box 7346
              Philadelphia, PA 19101-7346
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        For Notice Purposes Only




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 1 of 41
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 Debtor 1 Juan Jose Corchado                                                                                 Case number (if know)

 2.2      Internal Revenue Service                                   Last 4 digits of account number                               $0.00     $0.00              $0.00
          Priority Creditor's Name
          PO Box 7317                                                When was the debt incurred?
          Philadelphia, PA 19101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           For Notice Purposes Only

 2.3      Lincoln County Tax Collector                               Last 4 digits of account number                               $0.00     $0.00              $0.00
          Priority Creditor's Name
          P.O. Box 938                                               When was the debt incurred?
          Lincolnton, NC 28093
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           For Notice Purposes Only

 2.4      New York State Income Tax                                  Last 4 digits of account number                           $425.67     $425.67              $0.00
          Priority Creditor's Name
          State Porcessing Center                                    When was the debt incurred?
          PO Box 61000
          Albany, NY 12261
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           Taxes




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 41
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 Debtor 1 Juan Jose Corchado                                                                                 Case number (if know)

          North Carolina Department of
 2.5      Revenue                                                    Last 4 digits of account number                               $0.00      $0.00               $0.00
          Priority Creditor's Name
          P.O. Box 1168                                              When was the debt incurred?
          Raleigh, NC 27602
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           For Notice Purposes Only

 2.6      NYC Department of Finance                                  Last 4 digits of account number     0022                $2,093.76     $2,093.76              $0.00
          Priority Creditor's Name
          PO Box 680                                                 When was the debt incurred?         2016
          Newark, NJ 07101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           Property Taxes for 1432 Parson Blvd.

 2.7      U.S. Attorney                                              Last 4 digits of account number                               $0.00      $0.00               $0.00
          Priority Creditor's Name
          Bankruptcy Division                                        When was the debt incurred?
          227 W. Trade St.
          #1650
          Charlotte, NC 28202
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           For Notice Purpose Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 3 of 41
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 Debtor 1 Juan Jose Corchado                                                                                 Case number (if know)

 2.8        U.S. Attorney General                                    Last 4 digits of account number                               $0.00                  $0.00                  $0.00
            Priority Creditor's Name
            9001 Mail Service Center                                 When was the debt incurred?
            Raleigh, NC 27699-9001
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                          For Notice Purpose Only

 2.9        United States Attorney                                   Last 4 digits of account number                               $0.00                  $0.00                  $0.00
            Priority Creditor's Name
            Federal Courthouse Rm 233                                When was the debt incurred?
            100 Otis Street
            Asheville, NC 28801
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                          For Notice Purposes Only

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 4 of 41
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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.1      AAA American Flag Decorating Co                            Last 4 digits of account number                                                        $2,487.95
          Nonpriority Creditor's Name
          36 West 37th St., 9th floor                                When was the debt incurred?           2014
          New York, NY 10018
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.2      Aetna                                                      Last 4 digits of account number                                                        $7,938.16
          Nonpriority Creditor's Name
          PO Box 14321                                               When was the debt incurred?           2014
          Lexington, KY 40512
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.3      Affordable Interior Systems, Inc.                          Last 4 digits of account number                                                      $20,926.20
          Nonpriority Creditor's Name
          4 Bonazzoli Ave                                            When was the debt incurred?           2014
          Hudson, MA 01749
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 41
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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.4      American Express                                           Last 4 digits of account number       2000                                           $11,416.93
          Nonpriority Creditor's Name
          P.O. Box 650448                                            When was the debt incurred?           2014
          Dallas, TX 75265-0448
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.5      Arc-com Fabrics Inc                                        Last 4 digits of account number                                                           $612.25
          Nonpriority Creditor's Name
          33 Ramland South                                           When was the debt incurred?           2014
          Orangeburg, NY 10962
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.6      Artone, LLC                                                Last 4 digits of account number                                                        $1,961.55
          Nonpriority Creditor's Name
          1089 Allen St                                              When was the debt incurred?           2014
          Jamestown, NY 14701
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 41
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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.7      Avid Enterprises Sol Corp                                  Last 4 digits of account number                                                        $4,843.75
          Nonpriority Creditor's Name
          146-47 56th Rd.                                            When was the debt incurred?           2014
          Flushing, NY 11355
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.8      AWISCO Welding Equipment                                   Last 4 digits of account number       7645                                                $231.86
          Nonpriority Creditor's Name
          55-15 43rd St                                              When was the debt incurred?           2014
          Maspeth, NY 11378
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.9      Besselman & Kranner LLP                                    Last 4 digits of account number                                                      $16,605.00
          Nonpriority Creditor's Name
          40 Triangle Center Ste 109                                 When was the debt incurred?           2014
          Yorktown Heights, NY 10598
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 7 of 41
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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.1
 0        Boro wide Recycling                                        Last 4 digits of account number       4456                                                $283.08
          Nonpriority Creditor's Name
          3 Railroad Place                                           When was the debt incurred?           2014
          Maspeth, NY 11378
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.1
 1        Broadview Networks                                         Last 4 digits of account number       6802                                             $5,805.26
          Nonpriority Creditor's Name
          PO Box 9242                                                When was the debt incurred?           2014
          Uniondale, NY 11555
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.1
 2        Callahead                                                  Last 4 digits of account number                                                        $2,045.38
          Nonpriority Creditor's Name
          304 Cross Bay Blvd                                         When was the debt incurred?           2014
          Far Rockaway, NY 11693
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.1
 3        Canon Solutions America                                    Last 4 digits of account number       8290                                                 $77.74
          Nonpriority Creditor's Name
          15004 Collections Center Drive                             When was the debt incurred?           2014
          Chicago, IL 60693
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.1
 4        Chase                                                      Last 4 digits of account number       1001                                          $753,946.88
          Nonpriority Creditor's Name
          PO Box 29550                                               When was the debt incurred?           2014
          Phoenix, AZ 85038
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.1
 5        Chase Card Services                                        Last 4 digits of account number       6910                                           $48,100.35
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           2014
          P.O. Box 15298
          Wilmington, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.1
 6        Chase Card Services                                        Last 4 digits of account number       2588                                           $31,320.92
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           2014
          P.O. Box 15298
          Wilmington, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.1
 7        Chase Tours LLC                                            Last 4 digits of account number                                                      $10,692.31
          Nonpriority Creditor's Name
          25 Woodsend Drive                                          When was the debt incurred?           2014
          Matawan, NJ 07747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.1
 8        Citi AAdvantage                                            Last 4 digits of account number       5404                                             $1,872.31
          Nonpriority Creditor's Name
          P.O. Box 6062                                              When was the debt incurred?           2016
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases




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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.1
 9        Clear Internet Services                                    Last 4 digits of account number                                                           $549.90
          Nonpriority Creditor's Name
          8726 Creek Trail Ln                                        When was the debt incurred?           2014
          Cornelius, NC 28031
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.2
 0        Country-wide Insurance Company                             Last 4 digits of account number       3615                                             $1,710.00
          Nonpriority Creditor's Name
          PO Box 7039                                                When was the debt incurred?           2014
          New York, NY 10008
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.2
 1        D'Onofrio General Contractors Corp                         Last 4 digits of account number       MP06                                           $38,121.20
          Nonpriority Creditor's Name
          202 28th Street                                            When was the debt incurred?           2014
          Brooklyn, NY 11232
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.2
 2        D3RG-Com                                                   Last 4 digits of account number                                                           $180.00
          Nonpriority Creditor's Name
          34-01 38 Ave                                               When was the debt incurred?           2014
          Long Island City, NY 11101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.2
 3        Dauphin North America - VALO                               Last 4 digits of account number                                                        $3,019.03
          Nonpriority Creditor's Name
          100 Fulton Street                                          When was the debt incurred?           2014
          Boonton, NJ 07005
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.2
 4        Dell Business Credit                                       Last 4 digits of account number       1597                                             $2,171.05
          Nonpriority Creditor's Name
          PO Box 5275                                                When was the debt incurred?           2014
          Carol Stream, IL 60197
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.2
 5        Discover Card                                              Last 4 digits of account number       6880                                             $3,684.24
          Nonpriority Creditor's Name
          P.O. Box 30943                                             When was the debt incurred?           2016
          Salt Lake City, UT 84130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases


 4.2
 6        Eagle Transfer Corporation                                 Last 4 digits of account number                                                      $25,926.35
          Nonpriority Creditor's Name
          23-02 49th Ave 6th floor                                   When was the debt incurred?           2014
          Long Island City, NY 11101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.2
 7        Ecommerce Industries                                       Last 4 digits of account number                                                        $8,368.00
          Nonpriority Creditor's Name
          PO Box 200164                                              When was the debt incurred?           2014
          Pittsburgh, PA 15251
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 4.2
 8        Elizabeth Industrial Center LLC                            Last 4 digits of account number                                                      $13,903.40
          Nonpriority Creditor's Name
          282 Grand Avenue Ste 1                                     When was the debt incurred?           2014
          Englewood, NJ 07631
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.2
 9        Elizabethtown Gas                                          Last 4 digits of account number                                                           $879.28
          Nonpriority Creditor's Name
          PO Box 4569                                                When was the debt incurred?           2014
          Location 6250
          Atlanta, GA 30302
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.3
 0        ERG International                                          Last 4 digits of account number                                                      $22,165.90
          Nonpriority Creditor's Name
          361 N Bernoulli Circle                                     When was the debt incurred?           2014
          Oxnard, CA 93030
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 4.3
 1        Exemplis Corporation                                       Last 4 digits of account number       5253                                             $3,318.00
          Nonpriority Creditor's Name
          25090 Network Place                                        When was the debt incurred?           2014
          Chicago, IL 60673
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.3
 2        FedEX                                                      Last 4 digits of account number       8018                                                $582.53
          Nonpriority Creditor's Name
          PO Box 371461                                              When was the debt incurred?           2014
          Pittsburgh, PA 15250
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.3
 3        Fixtures Manufacturing Corp                                Last 4 digits of account number                                                           $784.49
          Nonpriority Creditor's Name
          36193 Treasury Center                                      When was the debt incurred?           2014
          Chicago, IL 60694
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.3
 4        Fleetmatics USA/CPS                                        Last 4 digits of account number                                                              $3.44
          Nonpriority Creditor's Name
          1100 Winter St.                                            When was the debt incurred?           2014
          Ste 4600
          Waltham, MA 02451
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.3
 5        Furniture Rental Associates                                Last 4 digits of account number                                                            $32.50
          Nonpriority Creditor's Name
          149 Madison Ave Ste 303                                    When was the debt incurred?           2014
          New York, NY 10016
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.3
 6        Gate Tek Solutions                                         Last 4 digits of account number                                                           $682.50
          Nonpriority Creditor's Name
          PO Box 8514                                                When was the debt incurred?           2014
          Piscataway, NJ 08854
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 4.3
 7        Geico                                                      Last 4 digits of account number                                                           $194.70
          Nonpriority Creditor's Name
          One Geico PLaza                                            When was the debt incurred?           2014
          Washington, DC 20046
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.3
 8        Global Equipment Company Inc                               Last 4 digits of account number       2921                                             $2,839.25
          Nonpriority Creditor's Name
          PO Box 905713                                              When was the debt incurred?           2014
          Charlotte, NC 28290
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.3
 9        Grainger                                                   Last 4 digits of account number                                                      $13,326.69
          Nonpriority Creditor's Name
          Dept 882262793                                             When was the debt incurred?           2014
          Palatine, IL 60038
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.4
 0        Graybar Electric Co Inc.                                   Last 4 digits of account number                                                        $3,973.62
          Nonpriority Creditor's Name
          21-15 Queens Pl No                                         When was the debt incurred?           2014
          Long Island City, NY 11101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.4
 1        Great Openings                                             Last 4 digits of account number                                                      $24,773.51
          Nonpriority Creditor's Name
          902 East 4th St.                                           When was the debt incurred?           2014
          Ludington, MI 49431
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.4
 2        Harleysville                                               Last 4 digits of account number                                                      $12,781.14
          Nonpriority Creditor's Name
          PO Box 37712                                               When was the debt incurred?           2014
          Harrisburg, PA 17101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.4
 3        Harleysville Auto                                          Last 4 digits of account number                                                           $523.60
          Nonpriority Creditor's Name
          PO Box 37712                                               When was the debt incurred?           2014
          Philadelphia, PA 19101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.4
 4        Hostos Community College                                   Last 4 digits of account number                                                      $50,000.00
          Nonpriority Creditor's Name
          500 Grand Concourse                                        When was the debt incurred?           2014
          Bronx, NY 10451
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.4
 5        Intella Space                                              Last 4 digits of account number                                                        $1,719.40
          Nonpriority Creditor's Name
          4750 Shelburne Road                                        When was the debt incurred?           2014
          Shelburne, VT 05482
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.4
 6        Intempo Wood Furniture MFG Inc                             Last 4 digits of account number                                                        $6,062.50
          Nonpriority Creditor's Name
          PO Box 82816                                               When was the debt incurred?           2014
          Oklahoma City, OK 73148
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.4
 7        Janovic Painting & Decorating                              Last 4 digits of account number                                                        $3,397.36
          Nonpriority Creditor's Name
          30-35 Thomson Ave                                          When was the debt incurred?           2014
          Long Island City, NY 11101
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.4
 8        Jasper Seating Company Inc                                 Last 4 digits of account number                                                        $5,863.07
          Nonpriority Creditor's Name
          PO Box 231                                                 When was the debt incurred?           2014
          Jasper, IN 47547
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.4
 9        JFD Sales Corp                                             Last 4 digits of account number                                                     $748,297.86
          Nonpriority Creditor's Name
          52 Butler Street                                           When was the debt incurred?           2014
          Elizabethport, NJ 07206
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.5
 0        JSJ Funriture Corp                                         Last 4 digits of account number                                                           $941.85
          Nonpriority Creditor's Name
          17237 Van Wagoner Rd                                       When was the debt incurred?           2014
          Spring Lake, MI 49456
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.5
 1        JSJ Furniture Corp                                         Last 4 digits of account number       8500                                                $815.07
          Nonpriority Creditor's Name
          PO Box 2787                                                When was the debt incurred?           2014
          Florence, AL 35630
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 4.5
 2        Kamco Supply of NJ LLC                                     Last 4 digits of account number                                                           $830.17
          Nonpriority Creditor's Name
          845 E 25th Street                                          When was the debt incurred?           2014
          Paterson, NJ 07513
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.5
 3        KBL Certified Public Accountatns                           Last 4 digits of account number                                                           $975.00
          Nonpriority Creditor's Name
          114 West 47th Street #1900                                 When was the debt incurred?           2014
          New York, NY 10036
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.5
 4        Kimball International                                      Last 4 digits of account number       0055                                          $171,180.34
          Nonpriority Creditor's Name
          1600 Royal Street                                          When was the debt incurred?           2014
          Jasper, IN 47549
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.5
 5        Koroseal Interiors Products Group                          Last 4 digits of account number       1421                                             $1,684.20
          Nonpriority Creditor's Name
          PO Box 5235N                                               When was the debt incurred?           2014
          Cleveland, OH 44193
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.5
 6        Luna Textiles                                              Last 4 digits of account number                                                           $318.75
          Nonpriority Creditor's Name
          2415 Third Street Ste 280                                  When was the debt incurred?           2014
          San Francisco, CA 94107
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.5
 7        LUZ Electric & Control Systems INC                         Last 4 digits of account number                                                        $2,000.00
          Nonpriority Creditor's Name
          714 E. 180th St.                                           When was the debt incurred?           2014
          Bronx, NY 10457
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 4.5
 8        Manhattan Fire & Safety Corp                               Last 4 digits of account number                                                           $276.90
          Nonpriority Creditor's Name
          242 West 30th, 7th floor                                   When was the debt incurred?           2014
          New York, NY 10001
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.5
 9        Marvel Group Inc                                           Last 4 digits of account number                                                      $39,493.77
          Nonpriority Creditor's Name
          PO Box 87618                                               When was the debt incurred?           2014
          Chicago, IL 60680
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.6
 0        Megapath                                                   Last 4 digits of account number                                                           $159.50
          Nonpriority Creditor's Name
          6800 Koll Center Pkwy Ste 200                              When was the debt incurred?           2014
          Pleasanton, CA 94566
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 4.6
 1        MH Au Fait Business Consulting Inc                         Last 4 digits of account number                                                           $250.00
          Nonpriority Creditor's Name
          8 Sean Michael Court                                       When was the debt incurred?           2014
          Farmingdale, NY 11735
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.6
 2        Millenium Go Green Technology                              Last 4 digits of account number                                                           $125.00
          Nonpriority Creditor's Name
          2450 Third Ave                                             When was the debt incurred?           2014
          Bronx, NY 10454
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.6
 3        MKN Architectural Woodwork                                 Last 4 digits of account number                                                      $15,435.00
          Nonpriority Creditor's Name
          1 Paerdegat 14th street 3rd floor                          When was the debt incurred?           2014
          Brooklyn, NY 11238
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.6
 4        National Liability & Fire Insurance                        Last 4 digits of account number       5841                                             $9,318.66
          Nonpriority Creditor's Name
          PO Box 785100                                              When was the debt incurred?           2014
          Philadelphia, PA 19178
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.6
 5        National MTA                                               Last 4 digits of account number                                                      $66,844.77
          Nonpriority Creditor's Name
          P.O. Box IL 93096                                          When was the debt incurred?           2014
          Chicago, IL 60673
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.6
 6        National Office Furniture                                  Last 4 digits of account number                                                      $52,166.67
          Nonpriority Creditor's Name
          1600 Royal Street                                          When was the debt incurred?           2014
          Jasper, IN 47549
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.6
 7        NEOCASE                                                    Last 4 digits of account number                                                        $2,383.43
          Nonpriority Creditor's Name
          P.O. Bosx 129                                              When was the debt incurred?           2014
          Clemmons, NC 27012
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.6      New York City Department of
 8        Finance                                                    Last 4 digits of account number                                                        $1,348.90
          Nonpriority Creditor's Name
          Church Street Station                                      When was the debt incurred?           2014
          P.O. Box3640
          New York, NY 10008-3640
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.6
 9        New York City District Council                             Last 4 digits of account number       9004                                           $23,672.59
          Nonpriority Creditor's Name
          395 Hudson Street                                          When was the debt incurred?           2014
          New York, NY 10014
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- Lawsuit pending




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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.7
 0        New York Fire Department                                   Last 4 digits of account number                                                           $210.00
          Nonpriority Creditor's Name
          Church Street Station                                      When was the debt incurred?           2014
          P.O. Box 840
          New York, NY 10008-0840
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.7
 1        Nova Solutions, INC                                        Last 4 digits of account number                                                           $153.80
          Nonpriority Creditor's Name
          421 W Industrial Ave                                       When was the debt incurred?           2014
          P.O. Box 725
          Effingham, IL 62401
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.7
 2        Nucraft Furniture Co                                       Last 4 digits of account number       0919                                           $68,000.00
          Nonpriority Creditor's Name
          5151 West Drive                                            When was the debt incurred?           2015
          Comstock Park, MI 49321
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt- Lawsuit pending




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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.7
 3        Optimum                                                    Last 4 digits of account number       2046                                                   $1.31
          Nonpriority Creditor's Name
          1111 Stewart Avenue                                        When was the debt incurred?           2014
          Bethpage, NY 11714-3581
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.7
 4        Oxford                                                     Last 4 digits of account number                                                        $3,608.95
          Nonpriority Creditor's Name
          United Healthcare Oxford                                   When was the debt incurred?           2014
          P.O. Box 1697
          Newark, NJ 07101-1697
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.7
 5        Penco Products, INC                                        Last 4 digits of account number                                                        $1,567.46
          Nonpriority Creditor's Name
          P.O. Box 901176                                            When was the debt incurred?           2014
          Cleveland, OH 44190
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 4.7
 6        Peter Pepper Products, Inc.                                Last 4 digits of account number                                                      $52,465.04
          Nonpriority Creditor's Name
          17929 So. Susana Rd.                                       When was the debt incurred?           2014
          PO Box 5769
          Compton, CA 90221
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.7
 7        Pitney Bowes Inc.                                          Last 4 digits of account number       3964                                                $492.67
          Nonpriority Creditor's Name
          P.O. Box 371887                                            When was the debt incurred?           2014
          Pittsburgh, PA 15250-7887
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.7
 8        Power One Electrical Contractors                           Last 4 digits of account number                                                        $6,700.00
          Nonpriority Creditor's Name
          Servulus Billy                                             When was the debt incurred?           2014
          9202 Avenue M
          Brooklyn, NY 11236
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.7
 9        Pride Equipment Corp.                                      Last 4 digits of account number                                                        $2,718.16
          Nonpriority Creditor's Name
          150 Nassau Avenue                                          When was the debt incurred?           2014
          Islip, NY 11751
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.8
 0        Purchase Power                                             Last 4 digits of account number                                                            $33.06
          Nonpriority Creditor's Name
          P.O. Box 371874                                            When was the debt incurred?           2014
          Pittsburgh, PA 15250-7874
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.8
 1        Riviera LLC                                                Last 4 digits of account number                                                      $28,015.20
          Nonpriority Creditor's Name
          641 Lexington Avenue                                       When was the debt incurred?           2014
          22nd Floor
          New York, NY 10022
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.8
 2        RSC                                                        Last 4 digits of account number                                                        $1,498.75
          Nonpriority Creditor's Name
          444 North 3rd Street                                       When was the debt incurred?           2014
          Suite # 104
          Philadelphia, PA 19123
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.8
 3        Ryder Transportation Services                              Last 4 digits of account number       3136                                             $7,467.28
          Nonpriority Creditor's Name
          P.O. Box 96723                                             When was the debt incurred?           2014
          Chicago, IL 60693-6723
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.8
 4        Satelite Plumbing Corporation                              Last 4 digits of account number                                                        $1,910.76
          Nonpriority Creditor's Name
          65 Brucner Boulevard                                       When was the debt incurred?           2014
          Bronx, NY 10454
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.8
 5        School Outfitters                                          Last 4 digits of account number                                                        $1,766.49
          Nonpriority Creditor's Name
          3736 Regent Avenue                                         When was the debt incurred?           2014
          Cincinnati, OH 45212-3724
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.8
 6        Servex US. INC                                             Last 4 digits of account number                                                        $2,880.00
          Nonpriority Creditor's Name
          1838 2nd Avenue                                            When was the debt incurred?           2014
          Box 295
          New York, NY 10128
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.8
 7        Shelter Point Life                                         Last 4 digits of account number                                                           $216.35
          Nonpriority Creditor's Name
          P.O. Box 220727                                            When was the debt incurred?           2014
          Great Neck, NY 11021
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.8
 8        Sherwin Williams                                           Last 4 digits of account number                                                        $6,288.83
          Nonpriority Creditor's Name
          1942 37th Street                                           When was the debt incurred?           2014
          Astoria, NY 11105-1119
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.8
 9        South Nassau Community Hospital                            Last 4 digits of account number                                                           $150.00
          Nonpriority Creditor's Name
          PO box 5635                                                When was the debt incurred?           2014
          Hicksville, NY 11802
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.9
 0        Spirit Acoustics Inc                                       Last 4 digits of account number                                                        $6,238.83
          Nonpriority Creditor's Name
          2612 South Clinton Ave                                     When was the debt incurred?           2014
          South Plainfield, NJ 07080
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 4.9
 1        Standard Pest Management                                   Last 4 digits of account number                                                           $156.66
          Nonpriority Creditor's Name
          25-80 Steinway Street                                      When was the debt incurred?           2014
          Astoria, NY 11103
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.9
 2        Stanley Stephens Co Inc                                    Last 4 digits of account number                                                           $593.61
          Nonpriority Creditor's Name
          2565 Pearl Buck Road                                       When was the debt incurred?           2014
          Bristol, PA 19007
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.9
 3        Staples                                                    Last 4 digits of account number                                                           $782.24
          Nonpriority Creditor's Name
          Dept 90-0000008680                                         When was the debt incurred?           2014
          PO Box 9020
          Des Moines, IA 50368
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 35 of 41
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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.9
 4        Supreme Furniture Services Inc                             Last 4 digits of account number                                                        $2,340.00
          Nonpriority Creditor's Name
          PO Box 93                                                  When was the debt incurred?           2014
          Glen Rock, NJ 07452
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.9
 5        Tayco                                                      Last 4 digits of account number       0643                                                $346.13
          Nonpriority Creditor's Name
          222 Merchandise Mart Plaza                                 When was the debt incurred?           2014
          Chicago, IL 60654
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.9
 6        The HON Company LLC                                        Last 4 digits of account number       1486                                          $100,560.63
          Nonpriority Creditor's Name
          200 Oak Street                                             When was the debt incurred?           2014
          Muscatine, IA 52761
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 36 of 41
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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.9
 7        Time Payment Corp                                          Last 4 digits of account number                                                              $1.00
          Nonpriority Creditor's Name
          PO Box 3069                                                When was the debt incurred?           2014
          Woburn, MA 01888
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.9
 8        Time Warner Cable                                          Last 4 digits of account number                                                           $869.85
          Nonpriority Creditor's Name
          PO Box 9227                                                When was the debt incurred?           2014
          Uniondale, NY 11555
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.9      United Stationers Financial
 9        Services                                                   Last 4 digits of account number       0001                                                $153.42
          Nonpriority Creditor's Name
          PO Box 8890                                                When was the debt incurred?           2014
          Philadelphia, PA 19182
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.1
 00       V3 Insurance Partners LLC                                  Last 4 digits of account number       1301                                             $6,343.00
          Nonpriority Creditor's Name
          c/o Wells Fargo Bank                                       When was the debt incurred?           2014
          PO Box 202997
          Dallas, TX 75320
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.1
 01       Verizon Wireless                                           Last 4 digits of account number       2014                                                $246.96
          Nonpriority Creditor's Name
          500 Technology Dr.                                         When was the debt incurred?           2014
          #550
          Saint Charles, MO 63304
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.1
 02       Verizon Wireless                                           Last 4 digits of account number       D'Onofrio                                           $502.44
          Nonpriority Creditor's Name
          500 Technology Dr.                                         When was the debt incurred?           2014
          #550
          Saint Charles, MO 63304
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 38 of 41
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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.1
 03       Wells Fargo Equipment Finance                              Last 4 digits of account number       8789                                             $1,398.43
          Nonpriority Creditor's Name
          PO Box 7777                                                When was the debt incurred?           2014
          San Francisco, CA 94120
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.1
 04       Wells Fargo Financial Leasing                              Last 4 digits of account number       8000                                             $9,125.55
          Nonpriority Creditor's Name
          PO Box 6434                                                When was the debt incurred?           2014
          Carol Stream, IL 60197
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.1
 05       Williams Scotsman                                          Last 4 digits of account number                                                      $14,817.38
          Nonpriority Creditor's Name
          PO Box 91975                                               When was the debt incurred?           2014
          Chicago, IL 60693
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 39 of 41
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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 4.1
 06        Wright Express Fleet Services                             Last 4 digits of account number                                                                   $357.25
           Nonpriority Creditor's Name
           PO Box 6293                                               When was the debt incurred?           2014
           Carol Stream, IL 60197-6293
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt


 4.1
 07        Zoom Seating                                              Last 4 digits of account number                                                                   $802.22
           Nonpriority Creditor's Name
           36244 Treasure Center                                     When was the debt incurred?           2014
           Chicago, IL 60694
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business debt

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Christine Hayes Hickey                                        Line 4.54 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 135 North Pennsylvania Street                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Indianapolis, IN 46204
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Credit Mediators Inc                                          Line 4.96 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 456                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Upper Darby, PA 19082
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Graybar Electric Co Inc.                                      Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1432 Parsons Blvd                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Whitestone, NY 11357
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Irwin Myers / Robert S. Saxon                                 Line 4.76 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Counselors at Law                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 3620 Quentin Road

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 40 of 41
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 Debtor 1 Juan Jose Corchado                                                                              Case number (if know)

 Brooklyn, NY 11234
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Meyers, Saxon and Cole                                        Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 3620 Quentin Road                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Brooklyn, NY 11234
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Mike Petrun                                                   Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Millenium Collections Corporation                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 P.O. Box 6899
 Vero Beach, FL 32961
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Norris McLaughlin & Marcus, PA                                Line 4.72 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 875 Third Ave, 8th floor                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 New York, NY 10022
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Virginia & Ambinder, LLP                                      Line 4.69 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 40 Broad Street, 7th Floor                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 New York, NY 10014
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                     2,519.43
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                     2,519.43

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                2,643,002.67

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                2,643,002.67




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 41 of 41
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                                                                    Document     Page 64 of 125
 Fill in this information to identify your case:

 Debtor 1                  Juan Jose Corchado
                           First Name                         Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               WESTERN DISTRICT OF NORTH CAROLINA

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Joshua Adam Corchado                                                       residence rental contract
               4415 Raleigh Ave Apt 104                                                   debtor will assume
               Alexandria, VA 22304

     2.2       The Royal Haciendas                                                        timeshare maintenance
               c/o Interval Servicing                                                     debtor will assume
               3363 W. Commercial Blvd, Ste 202
               Fort Lauderdale, FL 33309




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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 Fill in this information to identify your case:

 Debtor 1                   Juan Jose Corchado
                            First Name                           Middle Name       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 WESTERN DISTRICT OF NORTH CAROLINA

 Case number
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         JFD Sales Consulting Services Corp                                                   Schedule D, line
                213-37 39th Ave                                                                      Schedule E/F, line     4.14
                Bayside, NY 11361
                                                                                                     Schedule G
                                                                                                   Chase



    3.2         JFD Sales Consulting Services Corp                                                   Schedule D, line
                213-37 39th Ave                                                                      Schedule E/F, line     4.15
                Bayside, NY 11361
                                                                                                     Schedule G
                                                                                                   Chase Card Services



    3.3         JFD Sales Consulting Services Corp                                                   Schedule D, line   2.4
                213-37 39th Ave                                                                      Schedule E/F, line
                Bayside, NY 11361
                                                                                                     Schedule G
                                                                                                   Small Business Administration




Official Form 106H                                                             Schedule H: Your Codebtors                                Page 1 of 31
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 Debtor 1 Juan Jose Corchado                                                              Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.4      JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.4
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               American Express



    3.5      JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.72
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Nucraft Furniture Co



    3.6      JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.54
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Kimball International



    3.7      JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line   4.69
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               New York City District Council



    3.8      JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line 4.96
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               The HON Company LLC



    3.9      JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.16
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Chase Card Services



    3.10     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line  4.76
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Peter Pepper Products, Inc.




Official Form 106H                                                         Schedule H: Your Codebtors                              Page 2 of 31
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 Debtor 1 Juan Jose Corchado                                                              Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.11     JFD Sales Consulting Services Corp                                                   Schedule D, line
             213-37 39th Ave                                                                      Schedule E/F, line   4.3
             Bayside, NY 11361
                                                                                                  Schedule G
                                                                                               Affordable Interior Systems, Inc.



    3.12     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line   4.40
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Graybar Electric Co Inc.



    3.13     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line 4.1
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               AAA American Flag Decorating Co



    3.14     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.2
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Aetna



    3.15     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.5
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Arc-com Fabrics Inc



    3.16     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.6
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Artone, LLC



    3.17     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line  4.7
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Avid Enterprises Sol Corp




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    3.18     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line 4.8
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               AWISCO Welding Equipment



    3.19     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line 4.9
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Besselman & Kranner LLP



    3.20     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.10
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Boro wide Recycling



    3.21     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.11
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Broadview Networks



    3.22     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.12
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Callahead



    3.23     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line 4.13
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Canon Solutions America



    3.24     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.17
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Chase Tours LLC




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    3.25     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.19
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Clear Internet Services



    3.26     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line 4.20
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Country-wide Insurance Company



    3.27     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line  4.21
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               D'Onofrio General Contractors Corp



    3.28     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.22
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               D3RG-Com



    3.29     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line 4.23
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Dauphin North America - VALO



    3.30     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.24
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Dell Business Credit



    3.31     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line  4.26
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Eagle Transfer Corporation




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    3.32     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line 4.27
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Ecommerce Industries



    3.33     JFD Sales Consulting Services Corp                                                   Schedule D, line
             213-37 39th Ave                                                                      Schedule E/F, line   4.28
             Bayside, NY 11361
                                                                                                  Schedule G
                                                                                               Elizabeth Industrial Center LLC



    3.34     JFD Sales Consulting Services Corp                                                   Schedule D, line
             213-37 39th Ave                                                                      Schedule E/F, line   4.29
             Bayside, NY 11361
                                                                                                  Schedule G
                                                                                               Elizabethtown Gas



    3.35     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.30
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               ERG International



    3.36     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line 4.31
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Exemplis Corporation



    3.37     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.32
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               FedEX



    3.38     JFD Sales Consulting Services Corp                                                   Schedule D, line
             213-37 39th Ave                                                                      Schedule E/F, line 4.33
             Bayside, NY 11361
                                                                                                  Schedule G
                                                                                               Fixtures Manufacturing Corp




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    3.39     JFD Sales Consulting Services Corp                                                   Schedule D, line
             213-37 39th Ave                                                                      Schedule E/F, line 4.34
             Bayside, NY 11361
                                                                                                  Schedule G
                                                                                               Fleetmatics USA/CPS



    3.40     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line  4.35
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Furniture Rental Associates



    3.41     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.36
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Gate Tek Solutions



    3.42     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.37
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Geico



    3.43     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line 4.38
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Global Equipment Company Inc



    3.44     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.39
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Grainger



    3.45     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.41
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Great Openings




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    3.46     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.42
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Harleysville



    3.47     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.43
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Harleysville Auto



    3.48     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line 4.44
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Hostos Community College



    3.49     JFD Sales Consulting Services Corp                                                   Schedule D, line
             213-37 39th Ave                                                                      Schedule E/F, line   4.45
             Bayside, NY 11361
                                                                                                  Schedule G
                                                                                               Intella Space



    3.50     JFD Sales Consulting Services Corp                                                   Schedule D, line
             213-37 39th Ave                                                                      Schedule E/F, line 4.46
             Bayside, NY 11361
                                                                                                  Schedule G
                                                                                               Intempo Wood Furniture MFG Inc



    3.51     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line  4.47
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Janovic Painting & Decorating



    3.52     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line 4.48
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Jasper Seating Company Inc




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    3.53     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.49
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               JFD Sales Corp



    3.54     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.50
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               JSJ Funriture Corp



    3.55     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.51
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               JSJ Furniture Corp



    3.56     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line 4.52
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Kamco Supply of NJ LLC



    3.57     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line  4.53
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               KBL Certified Public Accountatns



    3.58     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line   4.55
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Koroseal Interiors Products Group



    3.59     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.56
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Luna Textiles




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    3.60     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line   4.57
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               LUZ Electric & Control Systems INC



    3.61     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line  4.58
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Manhattan Fire & Safety Corp



    3.62     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.59
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Marvel Group Inc



    3.63     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.60
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Megapath



    3.64     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line 4.61
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               MH Au Fait Business Consulting Inc



    3.65     JFD Sales Consulting Services Corp                                                   Schedule D, line
             213-37 39th Ave                                                                      Schedule E/F, line 4.62
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Millenium Go Green Technology



    3.66     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line 4.63
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               MKN Architectural Woodwork




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    3.67     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line     4.64
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               National Liability & Fire Insurance



    3.68     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.65
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               National MTA



    3.69     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.66
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               National Office Furniture



    3.70     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.67
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               NEOCASE



    3.71     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line 4.68
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               New York City Department of Finance



    3.72     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line 4.70
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               New York Fire Department



    3.73     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.71
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                                                                                                 Schedule G
                                                                                               Nova Solutions, INC




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    3.74     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.73
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Optimum



    3.75     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.74
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Oxford



    3.76     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.75
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Penco Products, INC



    3.77     JFD Sales Consulting Services Corp                                                   Schedule D, line
             213-37 39th Ave                                                                      Schedule E/F, line   4.77
             Bayside, NY 11361
                                                                                                  Schedule G
                                                                                               Pitney Bowes Inc.



    3.78     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line  4.78
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Power One Electrical Contractors



    3.79     JFD Sales Consulting Services Corp                                                   Schedule D, line
             213-37 39th Ave                                                                      Schedule E/F, line 4.79
             Bayside, NY 11361
                                                                                                  Schedule G
                                                                                               Pride Equipment Corp.



    3.80     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.80
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                                                                                                 Schedule G
                                                                                               Purchase Power




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    3.81     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.81
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Riviera LLC



    3.82     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.82
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               RSC



    3.83     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line  4.83
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Ryder Transportation Services



    3.84     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line  4.84
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Satelite Plumbing Corporation



    3.85     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.85
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               School Outfitters



    3.86     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.86
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Servex US. INC



    3.87     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.87
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                                                                                               Shelter Point Life




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    3.88     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.88
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Sherwin Williams



    3.89     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line 4.89
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               South Nassau Community Hospital



    3.90     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.90
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Spirit Acoustics Inc



    3.91     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line 4.91
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Standard Pest Management



    3.92     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line  4.92
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Stanley Stephens Co Inc



    3.93     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.93
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Staples



    3.94     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line 4.94
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Supreme Furniture Services Inc




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    3.95     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.95
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Tayco



    3.96     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.97
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Time Payment Corp



    3.97     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line    4.98
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Time Warner Cable



    3.98     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line   4.99
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               United Stationers Financial Services



    3.99     JFD Sales Consulting Services Corp                                                  Schedule D, line
             213-37 39th Ave                                                                     Schedule E/F, line  4.100
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               V3 Insurance Partners LLC



    3.10     JFD Sales Consulting Services Corp                                                  Schedule D, line
    0        213-37 39th Ave                                                                     Schedule E/F, line    4.101
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Verizon Wireless



    3.10     JFD Sales Consulting Services Corp                                                  Schedule D, line
    1        213-37 39th Ave                                                                     Schedule E/F, line    4.102
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Verizon Wireless




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    3.10     JFD Sales Consulting Services Corp                                                  Schedule D, line
    2        213-37 39th Ave                                                                     Schedule E/F, line 4.103
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Wells Fargo Equipment Finance



    3.10     JFD Sales Consulting Services Corp                                                  Schedule D, line
    3        213-37 39th Ave                                                                     Schedule E/F, line   4.104
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Wells Fargo Financial Leasing



    3.10     JFD Sales Consulting Services Corp                                                  Schedule D, line
    4        213-37 39th Ave                                                                     Schedule E/F, line    4.105
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Williams Scotsman



    3.10     JFD Sales Consulting Services Corp                                                  Schedule D, line
    5        213-37 39th Ave                                                                     Schedule E/F, line  4.106
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Wright Express Fleet Services



    3.10     JFD Sales Consulting Services Corp                                                  Schedule D, line
    6        213-37 39th Ave                                                                     Schedule E/F, line    4.107
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Zoom Seating



    3.10     JFD Sales Corporation                                                               Schedule D, line
    7        213-37 39th Ave                                                                     Schedule E/F, line 4.1
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               AAA American Flag Decorating Co



    3.10     JFD Sales Corporation                                                               Schedule D, line
    8        213-37 39th Ave                                                                     Schedule E/F, line    4.2
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Aetna




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    3.10     JFD Sales Corporation                                                                Schedule D, line
    9        213-37 39th Ave                                                                      Schedule E/F, line   4.3
             Bayside, NY 11361
                                                                                                  Schedule G
                                                                                               Affordable Interior Systems, Inc.



    3.11     JFD Sales Corporation                                                               Schedule D, line
    0        213-37 39th Ave                                                                     Schedule E/F, line    4.4
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               American Express



    3.11     JFD Sales Corporation                                                               Schedule D, line
    1        213-37 39th Ave                                                                     Schedule E/F, line    4.5
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Arc-com Fabrics Inc



    3.11     JFD Sales Corporation                                                               Schedule D, line
    2        213-37 39th Ave                                                                     Schedule E/F, line    4.6
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Artone, LLC



    3.11     JFD Sales Corporation                                                               Schedule D, line
    3        213-37 39th Ave                                                                     Schedule E/F, line  4.7
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Avid Enterprises Sol Corp



    3.11     JFD Sales Corporation                                                               Schedule D, line
    4        213-37 39th Ave                                                                     Schedule E/F, line 4.8
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               AWISCO Welding Equipment



    3.11     JFD Sales Corporation                                                               Schedule D, line
    5        213-37 39th Ave                                                                     Schedule E/F, line 4.9
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Besselman & Kranner LLP




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    3.11     JFD Sales Corporation                                                               Schedule D, line
    6        213-37 39th Ave                                                                     Schedule E/F, line    4.10
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Boro wide Recycling



    3.11     JFD Sales Corporation                                                               Schedule D, line
    7        213-37 39th Ave                                                                     Schedule E/F, line    4.11
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Broadview Networks



    3.11     JFD Sales Corporation                                                               Schedule D, line
    8        213-37 39th Ave                                                                     Schedule E/F, line    4.12
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Callahead



    3.11     JFD Sales Corporation                                                               Schedule D, line
    9        213-37 39th Ave                                                                     Schedule E/F, line 4.13
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Canon Solutions America



    3.12     JFD Sales Corporation                                                               Schedule D, line
    0        213-37 39th Ave                                                                     Schedule E/F, line    4.14
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Chase



    3.12     JFD Sales Corporation                                                               Schedule D, line
    1        213-37 39th Ave                                                                     Schedule E/F, line    4.15
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Chase Card Services



    3.12     JFD Sales Corporation                                                               Schedule D, line
    2        213-37 39th Ave                                                                     Schedule E/F, line    4.16
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Chase Card Services




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    3.12     JFD Sales Corporation                                                               Schedule D, line
    3        213-37 39th Ave                                                                     Schedule E/F, line    4.17
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Chase Tours LLC



    3.12     JFD Sales Corporation                                                               Schedule D, line
    4        213-37 39th Ave                                                                     Schedule E/F, line    4.19
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Clear Internet Services



    3.12     JFD Sales Corporation                                                               Schedule D, line
    5        213-37 39th Ave                                                                     Schedule E/F, line 4.20
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Country-wide Insurance Company



    3.12     JFD Sales Corporation                                                               Schedule D, line
    6        213-37 39th Ave                                                                     Schedule E/F, line  4.21
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               D'Onofrio General Contractors Corp



    3.12     JFD Sales Corporation                                                               Schedule D, line
    7        213-37 39th Ave                                                                     Schedule E/F, line    4.22
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               D3RG-Com



    3.12     JFD Sales Corporation                                                               Schedule D, line
    8        213-37 39th Ave                                                                     Schedule E/F, line 4.23
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Dauphin North America - VALO



    3.12     JFD Sales Corporation                                                               Schedule D, line
    9        213-37 39th Ave                                                                     Schedule E/F, line    4.24
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Dell Business Credit




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    3.13     JFD Sales Corporation                                                               Schedule D, line
    0        213-37 39th Ave                                                                     Schedule E/F, line  4.26
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Eagle Transfer Corporation



    3.13     JFD Sales Corporation                                                               Schedule D, line
    1        213-37 39th Ave                                                                     Schedule E/F, line 4.27
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Ecommerce Industries



    3.13     JFD Sales Corporation                                                                Schedule D, line
    2        213-37 39th Ave                                                                      Schedule E/F, line   4.28
             Bayside, NY 11361
                                                                                                  Schedule G
                                                                                               Elizabeth Industrial Center LLC



    3.13     JFD Sales Corporation                                                                Schedule D, line
    3        213-37 39th Ave                                                                      Schedule E/F, line   4.29
             Bayside, NY 11361
                                                                                                  Schedule G
                                                                                               Elizabethtown Gas



    3.13     JFD Sales Corporation                                                               Schedule D, line
    4        213-37 39th Ave                                                                     Schedule E/F, line    4.30
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               ERG International



    3.13     JFD Sales Corporation                                                               Schedule D, line
    5        213-37 39th Ave                                                                     Schedule E/F, line 4.31
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Exemplis Corporation



    3.13     JFD Sales Corporation                                                               Schedule D, line
    6        213-37 39th Ave                                                                     Schedule E/F, line    4.32
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               FedEX




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    3.13     JFD Sales Corporation                                                                Schedule D, line
    7        213-37 39th Ave                                                                      Schedule E/F, line 4.33
             Bayside, NY 11361
                                                                                                  Schedule G
                                                                                               Fixtures Manufacturing Corp



    3.13     JFD Sales Corporation                                                                Schedule D, line
    8        213-37 39th Ave                                                                      Schedule E/F, line 4.34
             Bayside, NY 11361
                                                                                                  Schedule G
                                                                                               Fleetmatics USA/CPS



    3.13     JFD Sales Corporation                                                               Schedule D, line
    9        213-37 39th Ave                                                                     Schedule E/F, line  4.35
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Furniture Rental Associates



    3.14     JFD Sales Corporation                                                               Schedule D, line
    0        213-37 39th Ave                                                                     Schedule E/F, line    4.36
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Gate Tek Solutions



    3.14     JFD Sales Corporation                                                               Schedule D, line
    1        213-37 39th Ave                                                                     Schedule E/F, line    4.37
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Geico



    3.14     JFD Sales Corporation                                                               Schedule D, line
    2        213-37 39th Ave                                                                     Schedule E/F, line 4.38
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Global Equipment Company Inc



    3.14     JFD Sales Corporation                                                               Schedule D, line
    3        213-37 39th Ave                                                                     Schedule E/F, line    4.39
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Grainger




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    3.14     JFD Sales Corporation                                                               Schedule D, line
    4        213-37 39th Ave                                                                     Schedule E/F, line   4.40
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Graybar Electric Co Inc.



    3.14     JFD Sales Corporation                                                               Schedule D, line
    5        213-37 39th Ave                                                                     Schedule E/F, line    4.41
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Great Openings



    3.14     JFD Sales Corporation                                                               Schedule D, line
    6        213-37 39th Ave                                                                     Schedule E/F, line    4.42
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Harleysville



    3.14     JFD Sales Corporation                                                               Schedule D, line
    7        213-37 39th Ave                                                                     Schedule E/F, line    4.43
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Harleysville Auto



    3.14     JFD Sales Corporation                                                               Schedule D, line
    8        213-37 39th Ave                                                                     Schedule E/F, line 4.44
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Hostos Community College



    3.14     JFD Sales Corporation                                                                Schedule D, line
    9        213-37 39th Ave                                                                      Schedule E/F, line   4.45
             Bayside, NY 11361
                                                                                                  Schedule G
                                                                                               Intella Space



    3.15     JFD Sales Corporation                                                                Schedule D, line
    0        213-37 39th Ave                                                                      Schedule E/F, line 4.46
             Bayside, NY 11361
                                                                                                  Schedule G
                                                                                               Intempo Wood Furniture MFG Inc




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    3.15     JFD Sales Corporation                                                               Schedule D, line
    1        213-37 39th Ave                                                                     Schedule E/F, line  4.47
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Janovic Painting & Decorating



    3.15     JFD Sales Corporation                                                               Schedule D, line
    2        213-37 39th Ave                                                                     Schedule E/F, line 4.48
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Jasper Seating Company Inc



    3.15     JFD Sales Corporation                                                               Schedule D, line
    3        213-37 39th Ave                                                                     Schedule E/F, line    4.50
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               JSJ Funriture Corp



    3.15     JFD Sales Corporation                                                               Schedule D, line
    4        213-37 39th Ave                                                                     Schedule E/F, line    4.51
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               JSJ Furniture Corp



    3.15     JFD Sales Corporation                                                               Schedule D, line
    5        213-37 39th Ave                                                                     Schedule E/F, line 4.52
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Kamco Supply of NJ LLC



    3.15     JFD Sales Corporation                                                               Schedule D, line
    6        213-37 39th Ave                                                                     Schedule E/F, line  4.53
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               KBL Certified Public Accountatns



    3.15     JFD Sales Corporation                                                               Schedule D, line
    7        213-37 39th Ave                                                                     Schedule E/F, line    4.54
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Kimball International




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    3.15     JFD Sales Corporation                                                               Schedule D, line
    8        213-37 39th Ave                                                                     Schedule E/F, line   4.55
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Koroseal Interiors Products Group



    3.15     JFD Sales Corporation                                                               Schedule D, line
    9        213-37 39th Ave                                                                     Schedule E/F, line    4.56
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Luna Textiles



    3.16     JFD Sales Corporation                                                               Schedule D, line
    0        213-37 39th Ave                                                                     Schedule E/F, line   4.57
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               LUZ Electric & Control Systems INC



    3.16     JFD Sales Corporation                                                               Schedule D, line
    1        213-37 39th Ave                                                                     Schedule E/F, line  4.58
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Manhattan Fire & Safety Corp



    3.16     JFD Sales Corporation                                                               Schedule D, line
    2        213-37 39th Ave                                                                     Schedule E/F, line    4.59
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Marvel Group Inc



    3.16     JFD Sales Corporation                                                               Schedule D, line
    3        213-37 39th Ave                                                                     Schedule E/F, line    4.60
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Megapath



    3.16     JFD Sales Corporation                                                               Schedule D, line
    4        213-37 39th Ave                                                                     Schedule E/F, line 4.61
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               MH Au Fait Business Consulting Inc




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    3.16     JFD Sales Corporation                                                                Schedule D, line
    5        213-37 39th Ave                                                                      Schedule E/F, line 4.62
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Millenium Go Green Technology



    3.16     JFD Sales Corporation                                                               Schedule D, line
    6        213-37 39th Ave                                                                     Schedule E/F, line 4.63
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               MKN Architectural Woodwork



    3.16     JFD Sales Corporation                                                               Schedule D, line
    7        213-37 39th Ave                                                                     Schedule E/F, line     4.64
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               National Liability & Fire Insurance



    3.16     JFD Sales Corporation                                                               Schedule D, line
    8        213-37 39th Ave                                                                     Schedule E/F, line    4.65
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               National MTA



    3.16     JFD Sales Corporation                                                               Schedule D, line
    9        213-37 39th Ave                                                                     Schedule E/F, line    4.66
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               National Office Furniture



    3.17     JFD Sales Corporation                                                               Schedule D, line
    0        213-37 39th Ave                                                                     Schedule E/F, line    4.67
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               NEOCASE



    3.17     JFD Sales Corporation                                                               Schedule D, line
    1        213-37 39th Ave                                                                     Schedule E/F, line 4.68
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               New York City Department of Finance




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    3.17     JFD Sales Corporation                                                               Schedule D, line
    2        213-37 39th Ave                                                                     Schedule E/F, line   4.69
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               New York City District Council



    3.17     JFD Sales Corporation                                                               Schedule D, line
    3        213-37 39th Ave                                                                     Schedule E/F, line 4.70
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               New York Fire Department



    3.17     JFD Sales Corporation                                                               Schedule D, line
    4        213-37 39th Ave                                                                     Schedule E/F, line    4.71
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Nova Solutions, INC



    3.17     JFD Sales Corporation                                                               Schedule D, line
    5        213-37 39th Ave                                                                     Schedule E/F, line    4.72
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Nucraft Furniture Co



    3.17     JFD Sales Corporation                                                               Schedule D, line
    6        213-37 39th Ave                                                                     Schedule E/F, line    4.73
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Optimum



    3.17     JFD Sales Corporation                                                               Schedule D, line
    7        213-37 39th Ave                                                                     Schedule E/F, line    4.74
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Oxford



    3.17     JFD Sales Corporation                                                               Schedule D, line
    8        213-37 39th Ave                                                                     Schedule E/F, line    4.75
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Penco Products, INC




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    3.17     JFD Sales Corporation                                                               Schedule D, line
    9        213-37 39th Ave                                                                     Schedule E/F, line  4.76
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Peter Pepper Products, Inc.



    3.18     JFD Sales Corporation                                                                Schedule D, line
    0        213-37 39th Ave                                                                      Schedule E/F, line   4.77
             Bayside, NY 11361
                                                                                                  Schedule G
                                                                                               Pitney Bowes Inc.



    3.18     JFD Sales Corporation                                                               Schedule D, line
    1        213-37 39th Ave                                                                     Schedule E/F, line  4.78
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Power One Electrical Contractors



    3.18     JFD Sales Corporation                                                                Schedule D, line
    2        213-37 39th Ave                                                                      Schedule E/F, line 4.79
             Bayside, NY 11361
                                                                                                  Schedule G
                                                                                               Pride Equipment Corp.



    3.18     JFD Sales Corporation                                                               Schedule D, line
    3        213-37 39th Ave                                                                     Schedule E/F, line    4.80
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Purchase Power



    3.18     JFD Sales Corporation                                                               Schedule D, line
    4        213-37 39th Ave                                                                     Schedule E/F, line    4.81
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Riviera LLC



    3.18     JFD Sales Corporation                                                               Schedule D, line
    5        213-37 39th Ave                                                                     Schedule E/F, line    4.82
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               RSC




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 Debtor 1 Juan Jose Corchado                                                              Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.18     JFD Sales Corporation                                                               Schedule D, line
    6        213-37 39th Ave                                                                     Schedule E/F, line  4.83
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Ryder Transportation Services



    3.18     JFD Sales Corporation                                                               Schedule D, line
    7        213-37 39th Ave                                                                     Schedule E/F, line  4.84
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Satelite Plumbing Corporation



    3.18     JFD Sales Corporation                                                               Schedule D, line
    8        213-37 39th Ave                                                                     Schedule E/F, line    4.85
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               School Outfitters



    3.18     JFD Sales Corporation                                                               Schedule D, line
    9        213-37 39th Ave                                                                     Schedule E/F, line    4.86
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Servex US. INC



    3.19     JFD Sales Corporation                                                               Schedule D, line
    0        213-37 39th Ave                                                                     Schedule E/F, line    4.87
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Shelter Point Life



    3.19     JFD Sales Corporation                                                               Schedule D, line
    1        213-37 39th Ave                                                                     Schedule E/F, line    4.88
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Sherwin Williams



    3.19     JFD Sales Corporation                                                               Schedule D, line
    2        213-37 39th Ave                                                                     Schedule E/F, line 4.89
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               South Nassau Community Hospital




Official Form 106H                                                         Schedule H: Your Codebtors                              Page 28 of 31
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 Debtor 1 Juan Jose Corchado                                                              Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.19     JFD Sales Corporation                                                               Schedule D, line
    3        213-37 39th Ave                                                                     Schedule E/F, line    4.90
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Spirit Acoustics Inc



    3.19     JFD Sales Corporation                                                               Schedule D, line
    4        213-37 39th Ave                                                                     Schedule E/F, line 4.91
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Standard Pest Management



    3.19     JFD Sales Corporation                                                               Schedule D, line
    5        213-37 39th Ave                                                                     Schedule E/F, line  4.92
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Stanley Stephens Co Inc



    3.19     JFD Sales Corporation                                                               Schedule D, line
    6        213-37 39th Ave                                                                     Schedule E/F, line    4.93
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Staples



    3.19     JFD Sales Corporation                                                               Schedule D, line
    7        213-37 39th Ave                                                                     Schedule E/F, line 4.94
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Supreme Furniture Services Inc



    3.19     JFD Sales Corporation                                                               Schedule D, line
    8        213-37 39th Ave                                                                     Schedule E/F, line    4.95
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Tayco



    3.19     JFD Sales Corporation                                                               Schedule D, line
    9        213-37 39th Ave                                                                     Schedule E/F, line 4.96
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               The HON Company LLC




Official Form 106H                                                         Schedule H: Your Codebtors                              Page 29 of 31
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 Debtor 1 Juan Jose Corchado                                                              Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.20     JFD Sales Corporation                                                               Schedule D, line
    0        213-37 39th Ave                                                                     Schedule E/F, line    4.97
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Time Payment Corp



    3.20     JFD Sales Corporation                                                               Schedule D, line
    1        213-37 39th Ave                                                                     Schedule E/F, line    4.98
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Time Warner Cable



    3.20     JFD Sales Corporation                                                               Schedule D, line
    2        213-37 39th Ave                                                                     Schedule E/F, line   4.99
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               United Stationers Financial Services



    3.20     JFD Sales Corporation                                                               Schedule D, line
    3        213-37 39th Ave                                                                     Schedule E/F, line  4.100
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               V3 Insurance Partners LLC



    3.20     JFD Sales Corporation                                                               Schedule D, line
    4        213-37 39th Ave                                                                     Schedule E/F, line    4.101
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Verizon Wireless



    3.20     JFD Sales Corporation                                                               Schedule D, line
    5        213-37 39th Ave                                                                     Schedule E/F, line    4.102
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Verizon Wireless



    3.20     JFD Sales Corporation                                                               Schedule D, line
    6        213-37 39th Ave                                                                     Schedule E/F, line 4.103
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Wells Fargo Equipment Finance




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 Debtor 1 Juan Jose Corchado                                                              Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                           Column 2: The creditor to whom you owe the debt
                                                                                               Check all schedules that apply:
    3.20     JFD Sales Corporation                                                               Schedule D, line
    7        213-37 39th Ave                                                                     Schedule E/F, line   4.104
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Wells Fargo Financial Leasing



    3.20     JFD Sales Corporation                                                               Schedule D, line
    8        213-37 39th Ave                                                                     Schedule E/F, line    4.105
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Williams Scotsman



    3.20     JFD Sales Corporation                                                               Schedule D, line
    9        213-37 39th Ave                                                                     Schedule E/F, line  4.106
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Wright Express Fleet Services



    3.21     JFD Sales Corporation                                                               Schedule D, line
    0        213-37 39th Ave                                                                     Schedule E/F, line    4.107
             Bayside, NY 11361
                                                                                                 Schedule G
                                                                                               Zoom Seating




Official Form 106H                                                         Schedule H: Your Codebtors                              Page 31 of 31
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Fill in this information to identify your case:

Debtor 1                      Juan Jose Corchado

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       WESTERN DISTRICT OF NORTH CAROLINA

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation                                                       unemployed
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       self employed

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1      For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $             0.00    $              0.00

3.     Estimate and list monthly overtime pay.                                              3.    +$             0.00    +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $          0.00           $        0.00




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1    Juan Jose Corchado                                                                    Case number (if known)



                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $             0.00

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $              0.00     $                0.00
      5b.   Mandatory contributions for retirement plans                                   5b.        $              0.00     $                0.00
      5c.   Voluntary contributions for retirement plans                                   5c.        $              0.00     $                0.00
      5d.   Required repayments of retirement fund loans                                   5d.        $              0.00     $                0.00
      5e.   Insurance                                                                      5e.        $              0.00     $                0.00
      5f.   Domestic support obligations                                                   5f.        $              0.00     $                0.00
      5g.   Union dues                                                                     5g.        $              0.00     $                0.00
      5h.   Other deductions. Specify:                                                     5h.+       $              0.00 +   $                0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $                0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $                0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00     $                0.00
      8b. Interest and dividends                                                           8b.        $              0.00     $                0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $          0.00         $                0.00
      8d. Unemployment compensation                                                        8d.        $          0.00         $                0.00
      8e. Social Security                                                                  8e.        $      2,240.00         $                0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                  0.00
      8g. Pension or retirement income                                                     8g. $                     0.00   $                  0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                  0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          2,240.00         $                 0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              2,240.00 + $              0.00 = $           2,240.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                       0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                          12.   $           2,240.00
                                                                                                                                           Combined
                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                          page 2
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Fill in this information to identify your case:

Debtor 1                 Juan Jose Corchado                                                                Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   WESTERN DISTRICT OF NORTH CAROLINA                                         MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s      Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age              live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             500.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
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Debtor 1     Juan Jose Corchado                                                                        Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                     6a.   $                                95.30
      6b. Water, sewer, garbage collection                                                                   6b.   $                                25.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.   $                                67.17
      6d. Other. Specify:                                                                                    6d.   $                                 0.00
7.    Food and housekeeping supplies                                                                          7.   $                               800.00
8.    Childcare and children’s education costs                                                                8.   $                                 0.00
9.    Clothing, laundry, and dry cleaning                                                                     9.   $                                50.00
10.   Personal care products and services                                                                    10.   $                               100.00
11.   Medical and dental expenses                                                                            11.   $                                50.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                                           12. $                                 300.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                     13. $                                  20.00
14.   Charitable contributions and religious donations                                                       14. $                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                                  15a.    $                                 0.00
      15b. Health insurance                                                                                15b.    $                               401.60
      15c. Vehicle insurance                                                                               15c.    $                                 0.00
      15d. Other insurance. Specify: Spouse's life insurance                                               15d.    $                                63.33
             Spouse's auto insurance                                                                               $                               152.59
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                               16. $                                                      0.00
17. Installment or lease payments:
    17a. Car payments for Vehicle 1                                                      17a. $                                                       0.00
    17b. Car payments for Vehicle 2                                                      17b. $                                                       0.00
    17c. Other. Specify:                                                                 17c. $                                                       0.00
    17d. Other. Specify:                                                                 17d. $                                                       0.00
18. Your payments of alimony, maintenance, and support that you did not report as
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                      0.00
19. Other payments you make to support others who do not live with you.                         $                                                     0.00
    Specify:                                                                               19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
    20a. Mortgages on other property                                                     20a. $                                                      0.00
    20b. Real estate taxes                                                               20b. $                                                      0.00
    20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     82.92
    20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                      0.00
    20e. Homeowner’s association or condominium dues                                     20e. $                                                      0.00
21. Other: Specify:                                                                        21. +$                                                    0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                     2,707.91
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                     2,707.91
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               2,240.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              2,707.91

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                -467.91

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                    Juan Jose Corchado
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF NORTH CAROLINA

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Juan Jose Corchado                                                    X
              Juan Jose Corchado                                                        Signature of Debtor 2
              Signature of Debtor 1

              Date       January 27, 2017                                               Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Juan Jose Corchado
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF NORTH CAROLINA

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there
        1432 Parsons Blvd                                       From-To:                        Same as Debtor 1                                    Same as Debtor 1
        Whitestone, NY 11357                                    12/2012-8/2016                                                                   From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                Wages, commissions,                               $0.00         Wages, commissions,
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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 Debtor 1      Juan Jose Corchado                                                                          Case number (if known)



                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)

 For last calendar year:                             Wages, commissions,                        $60,000.00           Wages, commissions,
 (January 1 to December 31, 2016 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For the calendar year before that:                  Wages, commissions,                       $113,846.00           Wages, commissions,
 (January 1 to December 31, 2015 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income           Gross income
                                                   Describe below.                  each source                    Describe below.             (before deductions
                                                                                    (before deductions and                                     and exclusions)
                                                                                    exclusions)
 From January 1 of current year until SSI Benefits                                                $2,240.00
 the date you filed for bankruptcy:

 For last calendar year:                           Rental Income                                $12,000.00
 (January 1 to December 31, 2016 )


                                                   stock sale. mutual                           $46,310.00
                                                   funds redemption -
                                                   this was not all
                                                   income, but
                                                   withdrawal of
                                                   previously invested
                                                   monies


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.




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 Debtor 1      Juan Jose Corchado                                                                          Case number (if known)




            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Discover Card                                            November, 2016                  $5,781.00            $3,684.24        Mortgage
       P.O. Box 30943                                                                                                                 Car
       Salt Lake City, UT 84130
                                                                                                                                      Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe
       Joshua Adam Corchado                                     Monthly rent                    $3,000.00                 $0.00     rental of property
       4415 Raleigh Ave Apt 104                                 payments of $500
       Alexandria, VA 22304                                     from 8/2016
                                                                ongoing


8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
       Nucraft Furniture Co vs. JFD Sales                       Civil breach of             Queens County Clerk of                     Pending
       Consulting Corp, et al                                   contract                    Court                                      On appeal
       710919/2015                                                                          8811 Sutphin Blvd #105
                                                                                                                                       Concluded
                                                                                            Jamaica, NY 11485
                                                                                                                                    Breach of contract claim



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 Debtor 1      Juan Jose Corchado                                                                          Case number (if known)



       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       Graybar Electric Co Inc vs JFD                           civil suit to collect       Queens County Clerk of                      Pending
       Sales Consulting Services                                a debt                      Court                                       On appeal
       Coproration and Juan Corchado                                                        8811 Sutphin Blvd. #105
                                                                                                                                        Concluded
       254120                                                                               Jamaica, NY 11485
                                                                                                                                     breach of contract

       JFD Sales Consulting Services,                           Civil breach of             New York Court of Court                     Pending
       Corp vs Fidelity and Deposit                             contract                    60 Centre Street                            On appeal
       Company of Maryland, Skansja                                                         New York, NY 10007
                                                                                                                                        Concluded
       USA Building, Inc., Lane Office
       Furniture, Inc., Dormitory Authority
                                                                                                                                     Breach of contract claim
       of the State of New York, Lab
       Crafters, Inc. aka Metal Crafters,
       Inc., QBE Insurance Corporation,
       and "John Ode 1" through "John
       Doe 10," said parteies being
       lienors who have yet to perfect
       their liens and being fictitious and
       unknown to Plaintiff
       150409/15


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:




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 Debtor 1      Juan Jose Corchado                                                                          Case number (if known)



14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                        Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your        Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                             lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment               Amount of
       Address                                                       transferred                                              or transfer was             payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       The Law Offices of Beth B. Carter,                            $3,000 Attorney Fees                                     12/2016                    $3,000.00
       PLLC                                                          $335 Court Filing Fee
       P.O. Box 1553
       Denver, NC 28037
       beth@bbcarterlaw.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment               Amount of
       Address                                                       transferred                                              or transfer was             payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or         Date transfer was
       Address                                                       property transferred                       payments received or debts       made
                                                                                                                paid in exchange
       Person's relationship to you




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       Person Who Received Transfer                                  Description and value of                   Describe any property or     Date transfer was
       Address                                                       property transferred                       payments received or debts   made
                                                                                                                paid in exchange
       Person's relationship to you
       14 32 Parsons Boulevard                                       14 32 Parsons Boulevard,                   No debts paid in             April, 2016
       Whitestone, NY 11357                                          Whitestone NY 11537 -                      exchange for this
                                                                     added wife's name to deed                  transfer and no property
       wife                                                          of residence from only                     was received
                                                                     husband's name


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                       Date Transfer was
                                                                                                                                             made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of           Type of account or           Date account was          Last balance
       Address (Number, Street, City, State and ZIP             account number             instrument                   closed, sold,         before closing or
       Code)                                                                                                            moved, or                      transfer
                                                                                                                        transferred
       TD Bank                                                  XXXX-1540                     Checking                  1/2016                             $0.00
       148-08 Cross Island Pkwy                                                               Savings
       Whitestone, NY 11357
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       TD Bank                                                  XXXX-0390                     Checking                  1/2016                             $0.00
       148-08 Cross Island Pkwy                                                               Savings
       Whitestone, NY 11357
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       Bank of America                                          XXXX-8178                     Checking                  12/2016                        $198.00
       P.O. Box 45224                                                                         Savings
       Jacksonville, FL 32232
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       Bank of America                                          XXXX-7439                     Checking                  12/2016                        $237.00
       P.O. Box 45224                                                                         Savings
       Jacksonville, FL 32232
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other




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21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?                 Describe the contents           Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                             have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access                 Describe the contents           Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                     have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                       Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you    Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you    Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)




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26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

             No
             Yes. Fill in the details.
        Case Title                                                   Court or agency                       Nature of the case                    Status of the
        Case Number                                                  Name                                                                        case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                 A member of a limited liability company (LLC) or limited liability partnership (LLP)

                 A partner in a partnership

                 An officer, director, or managing executive of a corporation

                 An owner of at least 5% of the voting or equity securities of a corporation

             No. None of the above applies. Go to Part 12.

             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                           Describe the nature of the business              Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        JFD Sales Consulting Services                           office furniture resale                          EIN:         XX-XXXXXXX
        Corp
        213-37 39th Ave                                         Peter Burgos, CPA                                From-To      1997- current
        Bayside, NY 11361                                       45-10 Court Square 3rd floor
                                                                Long Island, NY 11101

        JFD Sales Corporation                                   Office funriture resale                          EIN:         XX-XXXXXXX
        213-37 39th ave
        Bayside, NY 11361                                       Peter Burgos, CPA                                From-To      2000- 2015
                                                                45-10 Court Square 3rd floor
                                                                Long Island, NY 11101


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Juan Jose Corchado
 Juan Jose Corchado                                                      Signature of Debtor 2
 Signature of Debtor 1

 Date      January 27, 2017                                              Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No

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 Debtor 1      Juan Jose Corchado                                                                          Case number (if known)



   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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 Fill in this information to identify your case:

 Debtor 1                   Juan Jose Corchado
                            First Name                      Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name              Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF NORTH CAROLINA

 Case number
 (if known)                                                                                                               Check if this is an
                                                                                                                          amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                             12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's          Bank of America                                     Surrender the property.                      No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a         Yes
    Description of         55 Crestview Drive Willingboro,                  Reaffirmation Agreement.
    property               NJ 08046 Burlington County                       Retain the property and [explain]:
    securing debt:         purchased in 1990 for $135,000
                           tax value$172,600
                           FMV estimated to be $172,600


    Creditor's          Citimortgage, Inc                                   Surrender the property.                      No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a         Yes
    Description of 14 32 Parsons Blvd Whitestone,                           Reaffirmation Agreement.
    property       NY 11357 Queens County                                   Retain the property and [explain]:
    securing debt: purchased in 2012 for $607,000
                   tax value:$800,000 - FMV
                   considered to be close to tax
                   value based upon feedback
                   from RE agent                                          retain and keep current



    Creditor's          Small Business Administration

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                           page 1

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 Debtor 1      Juan Jose Corchado                                                                     Case number (if known)


                                                                            Surrender the property.                                     No
     name:                                                                  Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
     Description of 14 32 Parsons Blvd Whitestone,                          Reaffirmation Agreement.
     property       NY 11357 Queens County                                  Retain the property and [explain]:
     securing debt: purchased in 2012 for $607,000
                    tax value:$800,000 - FMV
                    considered to be close to tax
                    value based upon feedback
                    from RE agent                                         business will continue to make payments

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:               Joshua Adam Corchado                                                                                No

                                                                                                                                  Yes

 Description of leased        residence rental contract
 Property:                    debtor will assume

 Lessor's name:               The Royal Haciendas                                                                                 No

                                                                                                                                  Yes

 Description of leased        timeshare maintenance
 Property:                    debtor will assume


 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Juan Jose Corchado                                                       X
       Juan Jose Corchado                                                               Signature of Debtor 2
       Signature of Debtor 1

       Date        January 27, 2017                                                 Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1               Juan Jose Corchado
 Debtor 2                                                                                                  1. There is no presumption of abuse
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Western District of North Carolina                     2. The calculation to determine if a presumption of abuse
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number
 (if known)
                                                                                                           3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                                         $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                         $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                         $
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
        Gross receipts (before all deductions)                           $
        Ordinary and necessary operating expenses                       -$
        Net monthly income from a business, profession, or farm $                        Copy here -> $                           $
  6. Net income from rental and other real property
                                                                                  Debtor 1
        Gross receipts (before all deductions)                           $
        Ordinary and necessary operating expenses                       -$
        Net monthly income from rental or other real property           $                Copy here -> $                           $
                                                                                                       $                          $
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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                 Case 17-40025                    Doc 1          Filed 01/27/17 Entered 01/27/17 15:18:12                            Desc Main
                                                                 Document      Page 113 of 125
 Debtor 1     Juan Jose Corchado                                                                      Case number (if known)



                                                                                                  Column A                     Column B
                                                                                                  Debtor 1                     Debtor 2 or
                                                                                                                               non-filing spouse
  8. Unemployment compensation                                                           $                                     $
     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here:
        For you                                          $
            For your spouse                                          $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                      $                            $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             .                                                                                    $                            $
                                                                                                  $                            $
                  Total amounts from separate pages, if any.                                  +   $                            $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.             $                        +   $                   =   $

                                                                                                                                               Total current monthly
                                                                                                                                               income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                             Copy line 11 here=>            $


              Multiply by 12 (the number of months in a year)                                                                                      x 12
       12b. The result is your annual income for this part of the form                                                               12b. $


  13. Calculate the median family income that applies to you. Follow these steps:
       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household.                                                        13.   $
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Juan Jose Corchado
                Juan Jose Corchado
                Signature of Debtor 1
        Date January 27, 2017
             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                  page 2
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 Fill in this information to identify your case:

 Debtor 1            Juan Jose Corchado

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Western District of North Carolina

 Case number                                                                                      Check if this is an amended filing
 (if known)



Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                     12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:         Identify the Kind of Debts You Have

  1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
     Individuals Filing for Bankruptcy (Official Form 1).

           No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
               supplement with the signed Form 122A-1.
           Yes. Go to Part 2.


 Part 2:         Determine Whether Military Service Provisions Apply to You

  2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           No. Go to line 3.
           Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.    Go to line 3.
                  Yes.   Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                         submit this supplement with the signed Form 122A-1.

  3. Are you or have you been a Reservist or member of the National Guard?
           No.     Complete Form 122A-1. Do not submit this supplement.
           Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.    Complete Form 122A-1. Do not submit this supplement.
                  Yes.   Check any one of the following categories that applies:
                                                                                            If you checked one of the categories to the left, go to Form
                         I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                         90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                            submit this supplement with the signed Form 122A-1. You
                         I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                         90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                         which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                            homeland defense activity, and for 540 days afterward. 11
                         I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                         I performed a homeland defense activity for at least 90 days,
                         ending on                  , which is fewer than 540 days before I    If your exclusion period ends before your case is closed,
                                                                                               you may have to file an amended form later.
                         file this bankruptcy case.




Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                 page 1
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75      administrative fee

        Your debts are primarily consumer debts.                                          +        $15      trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +          $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75         administrative fee                                        factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                 Western District of North Carolina
 In re       Juan Jose Corchado                                                                               Case No.
                                                                                Debtor(s)                     Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     3,000.00
             Prior to the filing of this statement I have received                                        $                     3,000.00
             Balance Due                                                                                  $                         0.00

2.     $    335.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                         CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     January 27, 2017                                                           /s/ Beth B. Carter
     Date                                                                       Beth B. Carter 24642
                                                                                Signature of Attorney
                                                                                The Law Offices of Beth B. Carter, PLLC
                                                                                P.O. Box 1553
                                                                                Denver, NC 28037
                                                                                704-966-8028 Fax: 704-966-0950
                                                                                beth@bbcarterlaw.com
                                                                                Name of law firm




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                                                               United States Bankruptcy Court
                                                                 Western District of North Carolina
 In re      Juan Jose Corchado                                                                        Case No.
                                                                                  Debtor(s)           Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: January 27, 2017                                                /s/ Juan Jose Corchado
                                                                       Juan Jose Corchado
                                                                       Signature of Debtor




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AAA AmericanCase
               Flag17-40025     Doc
                     Decorating Co    1   Filed 01/27/17
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                                                     Recycling                           DescInc
                                                                                Citimortgage,  Main
36 West 37th St., 9th floor               Document
                                          3 Railroad PlacePage 121 of 125       6400 Las Colinas Blvd
New York, NY 10018                        Maspeth, NY 11378                     Irving, TX 75039

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Aetna                                     Broadview Networks                    Clear Internet Services
PO Box 14321                              PO Box 9242                           8726 Creek Trail Ln
Lexington, KY 40512                       Uniondale, NY 11555                   Cornelius, NC 28031




Affordable Interior Systems, Inc.         Burlington Tax Assessor               Country-wide Insurance Company
4 Bonazzoli Ave                           851 Old York Rd.                      PO Box 7039
Hudson, MA 01749                          Burlington, NJ 08016                  New York, NY 10008




American Express                          Callahead                             Credit Mediators Inc
P.O. Box 650448                           304 Cross Bay Blvd                    PO Box 456
Dallas, TX 75265-0448                     Far Rockaway, NY 11693                Upper Darby, PA 19082




Arc-com Fabrics Inc                       Canon Solutions America               D'Onofrio General Contractors Corp
33 Ramland South                          15004 Collections Center Drive        202 28th Street
Orangeburg, NY 10962                      Chicago, IL 60693                     Brooklyn, NY 11232




Artone, LLC                               Chase                                 D3RG-Com
1089 Allen St                             PO Box 29550                          34-01 38 Ave
Jamestown, NY 14701                       Phoenix, AZ 85038                     Long Island City, NY 11101




Avid Enterprises Sol Corp                 Chase Card Services                   Dauphin North America - VALO
146-47 56th Rd.                           Attn: Bankruptcy                      100 Fulton Street
Flushing, NY 11355                        P.O. Box 15298                        Boonton, NJ 07005
                                          Wilmington, DE 19850


AWISCO Welding Equipment                  Chase Tours LLC                       Dell Business Credit
55-15 43rd St                             25 Woodsend Drive                     PO Box 5275
Maspeth, NY 11378                         Matawan, NJ 07747                     Carol Stream, IL 60197




Bank of America                           Christine Hayes Hickey                Discover Card
PO Box 982235                             135 North Pennsylvania Street         P.O. Box 30943
El Paso, TX 79998                         Indianapolis, IN 46204                Salt Lake City, UT 84130




Besselman & Kranner LLP                   Citi AAdvantage                       Eagle Transfer Corporation
40 Triangle Center Ste 109                P.O. Box 6062                         23-02 49th Ave 6th floor
Yorktown Heights, NY 10598                Sioux Falls, SD 57117                 Long Island City, NY 11101
             Case 17-40025
Ecommerce Industries              Doc 1   Filed
                                          Geico 01/27/17 Entered 01/27/17 15:18:12
                                                                             Intempo Desc
                                                                                     Wood Main
                                                                                          Furniture MFG Inc
PO Box 200164                             Document      Page 122 of 125
                                          One Geico PLaza                    PO Box 82816
Pittsburgh, PA 15251                      Washington, DC 20046                Oklahoma City, OK 73148




Elizabeth Industrial Center LLC           Global Equipment Company Inc        Internal Revenue Service
282 Grand Avenue Ste 1                    PO Box 905713                       Insolvency Remittance
Englewood, NJ 07631                       Charlotte, NC 28290                 PO Box 7346
                                                                              Philadelphia, PA 19101-7346


Elizabethtown Gas                         Grainger                            Internal Revenue Service
PO Box 4569                               Dept 882262793                      PO Box 7317
Location 6250                             Palatine, IL 60038                  Philadelphia, PA 19101
Atlanta, GA 30302


ERG International                         Graybar Electric Co Inc.            Irwin Myers / Robert S. Saxon
361 N Bernoulli Circle                    21-15 Queens Pl No                  Counselors at Law
Oxnard, CA 93030                          Long Island City, NY 11101          3620 Quentin Road
                                                                              Brooklyn, NY 11234


Exemplis Corporation                      Graybar Electric Co Inc.            Janovic Painting & Decorating
25090 Network Place                       1432 Parsons Blvd                   30-35 Thomson Ave
Chicago, IL 60673                         Whitestone, NY 11357                Long Island City, NY 11101




FedEX                                     Great Openings                      Jasper Seating Company Inc
PO Box 371461                             902 East 4th St.                    PO Box 231
Pittsburgh, PA 15250                      Ludington, MI 49431                 Jasper, IN 47547




Fixtures Manufacturing Corp               Harleysville                        JFD Sales Consulting Services Cor
36193 Treasury Center                     PO Box 37712                        213-37 39th Ave
Chicago, IL 60694                         Harrisburg, PA 17101                Bayside, NY 11361




Fleetmatics USA/CPS                       Harleysville Auto                   JFD Sales Corp
1100 Winter St.                           PO Box 37712                        52 Butler Street
Ste 4600                                  Philadelphia, PA 19101              Elizabethport, NJ 07206
Waltham, MA 02451


Furniture Rental Associates               Hostos Community College            JFD Sales Corporation
149 Madison Ave Ste 303                   500 Grand Concourse                 213-37 39th Ave
New York, NY 10016                        Bronx, NY 10451                     Bayside, NY 11361




Gate Tek Solutions                        Intella Space                       Joshua Adam Corchado
PO Box 8514                               4750 Shelburne Road                 4415 Raleigh Ave Apt 104
Piscataway, NJ 08854                      Shelburne, VT 05482                 Alexandria, VA 22304
JSJ FunritureCase
              Corp 17-40025    Doc 1   Filed
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17237 Van Wagoner Rd                   Document
                                       PO Box 87618 Page 123 of 125         P.O. Bosx 129
Spring Lake, MI 49456                  Chicago, IL 60680                     Clemmons, NC 27012




JSJ Furniture Corp                     Megapath                              New York City Department of Fina
PO Box 2787                            6800 Koll Center Pkwy Ste 200         Church Street Station
Florence, AL 35630                     Pleasanton, CA 94566                  P.O. Box3640
                                                                             New York, NY 10008-3640


Kamco Supply of NJ LLC                 Meyers, Saxon and Cole                New York City District Council
845 E 25th Street                      3620 Quentin Road                     395 Hudson Street
Paterson, NJ 07513                     Brooklyn, NY 11234                    New York, NY 10014




KBL Certified Public Accountatns       MH Au Fait Business Consulting Inc    New York Fire Department
114 West 47th Street #1900             8 Sean Michael Court                  Church Street Station
New York, NY 10036                     Farmingdale, NY 11735                 P.O. Box 840
                                                                             New York, NY 10008-0840


Kimball International                  Mike Petrun                           New York State Income Tax
1600 Royal Street                      Millenium Collections Corporation     State Porcessing Center
Jasper, IN 47549                       P.O. Box 6899                         PO Box 61000
                                       Vero Beach, FL 32961                  Albany, NY 12261


Koroseal Interiors Products Group      Millenium Go Green Technology         Norris McLaughlin & Marcus, PA
PO Box 5235N                           2450 Third Ave                        875 Third Ave, 8th floor
Cleveland, OH 44193                    Bronx, NY 10454                       New York, NY 10022




Lincoln County Tax Collector           MKN Architectural Woodwork            North Carolina Department of Reve
P.O. Box 938                           1 Paerdegat 14th street 3rd floor     P.O. Box 1168
Lincolnton, NC 28093                   Brooklyn, NY 11238                    Raleigh, NC 27602




Luna Textiles                          National Liability & Fire Insurance   Nova Solutions, INC
2415 Third Street Ste 280              PO Box 785100                         421 W Industrial Ave
San Francisco, CA 94107                Philadelphia, PA 19178                P.O. Box 725
                                                                             Effingham, IL 62401


LUZ Electric & Control Systems INC     National MTA                          Nucraft Furniture Co
714 E. 180th St.                       P.O. Box IL 93096                     5151 West Drive
Bronx, NY 10457                        Chicago, IL 60673                     Comstock Park, MI 49321




Manhattan Fire & Safety Corp           National Office Furniture             NYC Department of Finance
242 West 30th, 7th floor               1600 Royal Street                     PO Box 680
New York, NY 10001                     Jasper, IN 47549                      Newark, NJ 07101
Optimum     Case 17-40025      Doc 1   Filed
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                                                                               Stanley Stephens Co Inc
1111 Stewart Avenue                    Document
                                       P.O. Box 96723Page 124 of 125           2565 Pearl Buck Road
Bethpage, NY 11714-3581                Chicago, IL 60693-6723                 Bristol, PA 19007




Oxford                                 Satelite Plumbing Corporation          Staples
United Healthcare Oxford               65 Brucner Boulevard                   Dept 90-0000008680
P.O. Box 1697                          Bronx, NY 10454                        PO Box 9020
Newark, NJ 07101-1697                                                         Des Moines, IA 50368


Penco Products, INC                    School Outfitters                      Supreme Furniture Services Inc
P.O. Box 901176                        3736 Regent Avenue                     PO Box 93
Cleveland, OH 44190                    Cincinnati, OH 45212-3724              Glen Rock, NJ 07452




Peter Pepper Products, Inc.            Servex US. INC                         Tayco
17929 So. Susana Rd.                   1838 2nd Avenue                        222 Merchandise Mart Plaza
PO Box 5769                            Box 295                                Chicago, IL 60654
Compton, CA 90221                      New York, NY 10128


Pitney Bowes Inc.                      Shelter Point Life                     The HON Company LLC
P.O. Box 371887                        P.O. Box 220727                        200 Oak Street
Pittsburgh, PA 15250-7887              Great Neck, NY 11021                   Muscatine, IA 52761




Power One Electrical Contractors       Sherwin Williams                       The Royal Haciendas
Servulus Billy                         1942 37th Street                       c/o Interval Servicing
9202 Avenue M                          Astoria, NY 11105-1119                 3363 W. Commercial Blvd, Ste 202
Brooklyn, NY 11236                                                            Fort Lauderdale, FL 33309


Pride Equipment Corp.                  Small Business Administration          Time Payment Corp
150 Nassau Avenue                      PO Box 740192                          PO Box 3069
Islip, NY 11751                        Atlanta, GA 30374                      Woburn, MA 01888




Purchase Power                         South Nassau Community Hospital        Time Warner Cable
P.O. Box 371874                        PO box 5635                            PO Box 9227
Pittsburgh, PA 15250-7874              Hicksville, NY 11802                   Uniondale, NY 11555




Riviera LLC                            Spirit Acoustics Inc                   U.S. Attorney
641 Lexington Avenue                   2612 South Clinton Ave                 Bankruptcy Division
22nd Floor                             South Plainfield, NJ 07080             227 W. Trade St.
New York, NY 10022                                                            #1650
                                                                              Charlotte, NC 28202

RSC                                    Standard Pest Management               U.S. Attorney General
444 North 3rd Street                   25-80 Steinway Street                  9001 Mail Service Center
Suite # 104                            Astoria, NY 11103                      Raleigh, NC 27699-9001
Philadelphia, PA 19123
United StatesCase   17-40025
               Attorney          Doc 1   Filed 01/27/17 Entered 01/27/17 15:18:12   Desc Main
Federal Courthouse Rm 233                Document      Page 125 of 125
100 Otis Street
Asheville, NC 28801


United Stationers Financial Services
PO Box 8890
Philadelphia, PA 19182




V3 Insurance Partners LLC
c/o Wells Fargo Bank
PO Box 202997
Dallas, TX 75320


Verizon Wireless
500 Technology Dr.
#550
Saint Charles, MO 63304


Virginia & Ambinder, LLP
40 Broad Street, 7th Floor
New York, NY 10014




Wells Fargo Equipment Finance
PO Box 7777
San Francisco, CA 94120




Wells Fargo Financial Leasing
PO Box 6434
Carol Stream, IL 60197




Williams Scotsman
PO Box 91975
Chicago, IL 60693




Wright Express Fleet Services
PO Box 6293
Carol Stream, IL 60197-6293




Zoom Seating
36244 Treasure Center
Chicago, IL 60694
